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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA et al.,          )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO et al.,                 )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                               ORDER

        For the reasons stated on the record during the Pretrial Conference held on September 1,

2023, the court rules as follows with respect to the parties’ pending motions and the third-parties’

motions to quash.

        1.      Google’s Motion in Limine to Preclude Evidence, Testimony, or Argument

Concerning Abandoned Conduct Allegations, ECF No. 620, is granted in part, denied in part, and

deferred in part. The motion is (a) denied as to Google’s Android Compatibility Commitments or

Anti-Fragmentation Agreements; (b) granted as to Google’s Android Operating System design

decisions because that evidence is not clearly relevant to Plaintiffs’ trial claims; and (c) deferred for

further consideration as to Google’s Assistant or Internet of Things practices.
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          2.   Google’s Motion in Limine to Preclude Evidence Concerning Microsoft Corp.’s

Purported Estimate of Revenue from SEM Tool Feature Development, ECF No. 621, is denied.

          3.   Plaintiffs’ Motion in Limine to Exclude Evidence of Purported Benefits from

Outside Relevant Markets, ECF No. 622, is denied.

          4.   Plaintiffs’ Motion in Limine to Limit Google’s Ability to Use Evidence of Product

Quality as a Complete Defense to Liability, ECF No. 623, is denied.

          5.   The Non-Parties’ Motions to Quash Trial Subpoenas, ECF Nos. 643 & 652-2, are

denied.




                                                           Amit P. Mehta
Date: September 4, 2023                             United States District Judge




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